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» SUMMONS $C-85-1 . Clyde Castlebar Co., Gavington, GA. 30015

IN THE SUPERIOR/STATE COURT OF Bi lols COUNTY
STATE. OF GEORGIA

Leds Brooker eV AMON O50. 30315

PLAINTIFF

Lesh express The,
Conbnwalel Coen Ha lenge pony,
Ui) Joseph Ehedeher

DEFENDANT

SUMMONS

OT Come cdiciy reguste ee!
TO THE ABOVE NAMED DEFENDANT: (i U4 ib CONEY ‘ol Pecct lr.
P+ iGu Catt Js lef

You are hereby summoned and required to fat with the Clk of said court and serve upon the Plaintiff's attorney, whose name

and address is:
Jl0n ic E, Cal Lvl re. one

Neal Tarun AG kRek Pe
BYY Niuibery Sree, SE 7 00

Neecn, Cid Bla,

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive
of the day of service. If you fail to do so, Judgment by default will be taken against you for the relief demanded in the complaint.

This of day of. { hi 20 QD
Teendand iSe alsotbein Served turth:
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3) Oder Auctlwa2i ig Depastiv~ Kea Lape Le £2

Deputy Clerk

street, NE

Clerk of Superior/State Court

INSTRUCTIONS: Atuch addendum sheet for additjona] parties if needed, make notation on thls sheer if addendum sheet is used. .

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